        Case 4:13-cr-00091-KGB           Document 77         Filed 02/02/15      Page 1 of 4




                          IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS
                                    WESTERN DIVISION

UNITED STATES OF AMERICA                                                               PLAINTIFF

v.                                Case No. 4:13-cr-00091-002 KGB

OSCAR ALBERTO MORENO-VALOIS
FERNANDO SALGADO                                                                    DEFENDANTS

                                              ORDER

        On February 2, 2015, the Court conducted a pretrial conference with counsel for the

government, defendants Oscar Alberto Moreno-Valois and Fernando Salgado, and counsel for

defendants. The Court made the following rulings and addressed the following matters:

        1.      Defendants are satisfied with the arrangement of the tables in the courtroom.

        2.      Each defendant waives his right to be present at any bench conference that might

arise during the trial.

        3.      The government anticipates it will take one and one-half days to present its proof.

Counsel for defendants anticipate the total length of trial to be three to four days or less.

        4.      The Court will seat a 12-person jury with 1 alternate.           Defendants will be

permitted 12 preemptory strikes to the 12-person panel and three strikes to the alternate-panel.

The government will be permitted 6 preemptory strikes to the 12-person panel and one strike to

the alternate-panel.

        5.      Defense counsel have no objection to the government’s proposed jury instruction

1.01 and its included proposed summary of indictment.

        6.      Discussion was had among counsel and the Court regarding referencing separate

defendant Hector Alba, who previously pleaded guilty in this case. Counsel for Mr. Moreno

raised the possibility of the Court giving Model Instruction 2.19 or a modified version of this
         Case 4:13-cr-00091-KGB          Document 77       Filed 02/02/15      Page 2 of 4




instruction to the jury. The government represents that Mr. Alba is not likely to be called as a

witness in this case. Counsel for Mr. Moreno agreed to revisit later in the proceedings the issue

of whether Model Instruction 2.19 or a modified version of this instruction should be given to the

jury, depending on the proof at trial.

         7.    The parties agree not to permit jurors to ask questions.

         8.    The Court reviewed with counsel an anticipated schedule for trial, with the

understanding that the schedule may be modified as the need arises during the course of trial

based on juror schedules and counsels’ schedules, requests for recesses, and other matters.

         9.    Defense counsel objects to the government’s Exhibits 11 and 12, which are

photographs of the alleged injury after the events occurred, contending that these photographs

are substantially more prejudicial than probative. The Court takes these objections under

advisement and will revisit these issues later in the proceedings as the proof develops.

         10.   Counsel Salgado objects to the government’s Exhibit 17 as lacking of foundation.

The government contends that a witness will testify that he took the photograph that is Exhibit 17

and that it is a photograph of Mr. Salgado’s foot.         The Court takes the objection under

advisement and will revisit this issue later in the proceedings as the proof develops.

         11.   With the exception of the government’s Exhibits 11 and 12 for Mr. Moreno and

the government’s Exhibits 11, 12, and 17 for Mr. Salgado, defense counsel stipulate to the

authenticity and admissibility of the government’s other exhibits.

         12.   Defense counsel agree to establish an order for cross examination and

presentation of the defense case and to keep that order throughout trial, unless good cause is

shown.




                                                 2
        Case 4:13-cr-00091-KGB          Document 77       Filed 02/02/15      Page 3 of 4




       13.     The Court addressed the pending pretrial motion filed by the government under

seal and Mr. Moreno’s under seal response to that filing (Dkt. Nos. 59, 75). The government

contends that it will not introduce the challenged evidence regarding the alleged affiliation of

defendants.   Defendants accept the government’s decision not to introduce the challenged

evidence regarding the alleged affiliation of defendants.        The Court directs that, if the

government’s position on this matter changes during trial, the government approach the bench

and inform the Court and defense counsel so that all parties may be heard and the Court may rule

on the issues raised.

       As to evidence regarding the Special Housing Unit, counsel conferred regarding the non-

objectionable parameters of evidence related to the Special Housing Unit and agreed that, if

necessary, defense counsel will make a contemporaneous objection challenging evidence that

exceeds those parameters.

       14.     The Court took up Mr. Moreno’s motion in limine (Dkt. No. 72).                  The

government contends that it does not intend to offer the evidence challenged in the motion in

limine in its case in chief. The government wishes to reserve its ability to admit this evidence in

rebuttal. The Court takes the motion in limine under advisement and will revisit the issues raised

by the motion after the conclusion of proof in the government’s case-in-chief and the defense

case, taking up the issues raised in the motion in limine if the government intends to offer the

challenged evidence in its rebuttal case.




                                                3
       Case 4:13-cr-00091-KGB           Document 77        Filed 02/02/15      Page 4 of 4




       15.     The Court’s practices is to instruct before closing and to send an agreed-upon,

admitted set of exhibits and one set of instructions to the jury room during deliberation.

       SO ORDERED this 2nd day of February, 2015.



                                                            _______________________________
                                                            Kristine G. Baker
                                                            United States District Judge




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